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In The Matter Of:

THE STATE OF TEXAS ex rel. v.
DEY, ING, ET AL.

RICHARD A, FELDMAN
June 25, 2002

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1) Ingelheim?.. 1) A: Yes.

@ A: Don’t know. 2)  Q: Let’s start with brand products. How are the

g} Q: McKesson? (3) AWPs for brand products set at Roxane?

4) A: Possibly. 41 A: Now, say it again.

&)  Q: Cardinal? i] Q: In your employment with Roxane, you're aware

i) A: Possibly. () that Roxane set AWPs for its products. Is that true?

7) Q: Amerisource Bergen? 1) A: Yes.

i) A: Possibly. i) «6. Q:: And I think it was your testimony that Roxane

i  @: Do you know for a fact, for the ladies and i] exclusively sets those AWPs for its products. Is that

to] gentlemen of the jury, that either of those three

(11) wholesalers set Boehringer Ingelheim AWPs?

12] As Yes.

(13) Q: How do you know that?

(14) A: Because the pricing services, First Data Bank,

(18) surveys them to get the AWP and then publishes it.

tig ~= Q: Do you know how First Data Bank goes about

(17 that survey?

118] A: No.

ti) ~Q: Do you know how the wholesalers create the AWP
(20) which they in turn provide First Data Bank during First
121] Data’s survey?

221 +A: No.

3} Q: Are there formulas in the industry governing

(24) the setting of AWPs?

(25) A: Maybe.

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i] Q: Are you aware that First Data Bank uses
f formulas to set AWPs?
A: I’m not aware that they do.

Q: Do you know for a fact that they don’t?

5) A: Yes.

1) Q@:Do you know for a fact that pharmaceutical

(1 manufacturers use formulas to set AWPs?

(2) : Narrow the question.

(9) : Do pharmaceutical manufacturers set AWP?
{10} Some.
[it] : Does Roxane set AWPs?
[12] Yes.
[13) : Do you know how Roxane goes about doing that?
[14] Yes.
[15] How?
[16] : Which product?
(17) : Well, let’s focus on Ipratropium Bromide.
[18] Does it change — strike that.
i ~=—s-s Does it change from product to product
(20—] how an AWP is set?
i217 A: Possibly.
2] Q: Does it — are AWPs for generic products set
23) differently than AWPs for generic products? Do — are
24) AWPs for generic products set differently than AWPs for
28) brand products?

DPOrPOPOPoR

[io] true?

tit) =A: No.

12] Q: What other entities set AWPs for Roxane?

(tg) A: Don’t know.That’s why I can’t use — I can’t
[14] agree with you on exclusive, because I can only tell
{15} you what we do, Roxane Laboratories.

tte} ©: Right. And in your employment with Roxane
117) Laboratories, do you know for a fact that any other
(1a) institute other than Roxane set Roxane AWPs?

tig) «=A: No. A

(299 + Q: So to your knowledge, Roxane exclusively set
21) the AWPs for its products? To your knowledge?

21 A: I still don’t like the word exclusive, because
23] I know we set it.I can’t speak for, you know, the

24) test of the free world.

2 Q: I'm not asking you to speak for anyone other

Page 48
{1} than yourself. In your employment at Roxane, to your
2] knowledge, only Roxane set its AWPs. Is that true?
13} A: Rephrase the question.
4] Q: You were employed by Roxane for several years.
is) Right?
i ~=—s A: Correct.
m @: And in that employment you were aware that
fa] Roxane set the AWPs on its products.
(1 A: Correct.
119} Q: And to your knowledge, no other entity had
(1 involvement in setting those AWPs other than Roxane.
tiq7 A: Correct.
i13] Q: Okay. How did Roxane set the AWPs for its
i141 brand products?
115) A: It was a percentage marked up from the
{18} wholesale acquisition cost.
7) =Q: What percentage?
1a) = A: Which product?
us] = Q: Did it change from one brand product to the
(20) Next?
2) A: It possibly could have.
2] Q: What was the typical percentage markup from
3] wholesale acquisition cost to set a brand AWP at
ie4] Roxane?
2s} A: It was 20 percent up from wholesale

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it] acquisition cost.
1 Q: Were there any other percentages that were
{3} used by Roxane to set brand AWPs, to your knowledge?
4) A: Don’t remember.
t]  Q@: You have a vague recollection of there might
is) be another percentage?
™ A: There could be. I — I really don’t know.
i] Q: I understand that it’s theoretically possible
9] that there was another percentage. But within your
19) personal knowledge, during your employment at Roxane,
14] did you become aware that any percentage other than 20
112) percent was used as the markup from wholesale
[13] acquisition cost to set AWP?
4] A: During what period?
1s) Q: During your employment from '96 to 2001.
(18) A: I believe there were other products that had
tt7) some different percentages. I just don’t remember
(18) which products or when.
i933 +=Q: Do you have any understanding why some brand
te) products had a different unique percentage than most
21] brand products?
22) A: No.
3] Q: Were you ever privy to the meetings in which
(24) that was — that strategy was discussed?
25) A: As it relates to...?

Page 50
()  @Q: As it relates to these brand products which
2] you have a memory may have been marked up with a
i different percentage.
4] A: No. a
)  Q: But you just recall that that might have
js] Occurred?
7 <A: Yes.
8] GQ: Why was it that wholesale acquisition cost was
9] used as the foundation upon which the AWP was set?
19). A: Historical artifact.
1] Q: Roxane’s historical artifact?
{12 A: General industry artifact.
(131 Q: Is the 20 percent markup a markup you were
(14) familiar with at Schein in setting AWPs?
115) : For what product?
(16) : For brand products,
(17) : To my recollection, yes.
[18} : Does Schein sell brand and generic products?
[19] : Not any longer.
[20] : Did it while you were working there?
Yes.
: Do you have any understanding why 20 percent
was the general industry standard for markup from
wholesale acquisition cost to set a brand AWP?
A: Other than it was a historical artifact, no.

[21]
(22)
(23)
(24}
{25)

OPOroOorop,

Page 51
1] Q: And in your 20 years of experience in the
] pharmaceutical sales industry, has it always been 20
8] percent, to your knowledge?
4) A: No.
6] Q: What other percentage was used, to your
ts) knowledge?
7 A: 25 percent.
i] Q: Was there a time period in the industry in
9) which 25 percent was used rather than 20 percent?
to) +A: Some companies. .
it] Q: At companies you worked for?
ti2q7 A: No.
13] Q@: How did you become aware that other companies
(41 used a formula of 25 percent up from wholesale

oo

(15) acquisition cost to set their brand AWPs?
(is) A: I looked.

177 Q: Looked where?

ia} A: Red Book.

iq) «=: Is Red Book a publication that publishes all
reo) AWPs of pharmaceutical products?

2) A: General question. Don't know if it’s all or
(22) not.

23] Q: Is it your understanding that it publishes all
24] the AWPs for pharmaceutical products?

5) A: AsI said,I don’t know if it — all is the

Page 52°.
{] correct word.
ia Q@: What’s your understanding?
i «© A: Of what?
“1 ©Q: Are some product —‘do you have a specific
is] recollection that some products are not listed in Red .
[6] Book?
m™ A: No.
8}  Q: So generally, you have an understanding.that
9] all products and their AWPs are listed in Red Book?:
to) A: Red Book would be a source for me to look at
[11] to see if an AWP was listed.
tz] Q: And to your knowledge, that would be a source
13) which would be comprehensive?
(14) As Yes.
1  Q: Are there other sources that would be
[16] considered comprehensive in providing AWP information
(17 for pharmaceutical products?
via) A: First Data Bank.
193 Qs: Is that it?
zo) §4©A: MediSpan was bought by First Data Bank, even
21) though they keep separate records right now.
2}  Q: In looking in Red Book to determine what
23] Competitor companies were doing in setting their AWPs,
v4) how did that assist you in your business?
es} A: What business? --

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. : Page 53
1 = Q: Well, you mentioned that you had never worked
1] for a company that used a 25 percent markup. Is that

[3] true?
4) A: That’s true.
t Q: And you mentioned that you were aware that
(e] other companies did, in fact, use the 25 percent markup
71 because you checked Red Book. Is that true?
3) A: That’s true.
(2 Q: What did you use that information for in
(10) Checking to see what competitor formulas were?
tii] A: See what they were doing.
(12) Q: And how would that assist you in your
(131 business?
14) A: It really wouldn't.
18} Q: Then why did you do it?
(tq A: Because oftentimes the AWP next to that was
(17) the wholesale price.
1137 +@: Right.And how would you use the AWP and the
(19] wholesale price in your business?
te} += A:, I! wouldn’t use the AWE I'd use the wholesale
21] price to see if I was competitive with a product from
22] the same therapeutic category.
zs] Q@: Competitive on what price?
24] A: Wholesale acquisition cost.
25]  Q: In looking to see what-a competitor's

Page 54
1] wholesale acquisition cost was, why — why is it that
2] you would then do the calculation to determine that
a] their AWP was 25 percent more than the wholesale
4] acquisition cost? -
3] A: Curiosity.
6)  @Q: Merely curiosity?
m A: Mm-hmm, .
i)  Q: Is there any business reason that you as a
9] Sales executive in the pharmaceutical industry for 20
(19) years would need to be aware of your competitors’ AWPs?
1] A: Which product?
(123 Q: Well, we've been talking about brand products.
{13} For brand products — . —
(14) A: I know, but I just ask that you keep
(ts) clarifying, because I keep getting lost what you're
(ie) asking for,
(17 Q: Okay.
(ia) A: So—
191 Q; No, that’s fair. In brand — in the sector of
20) brand products, you have 20 plus years experience. How
21] do you use information concerning competitors’ AWPs?
(22) A: I really don’t. I’m focused on the wholesale
23] acquisition cost to make sure that the product price
[24] Stays competitive for what I sell it for.

28}  Q: In your 20 years of experience, have you ever

Page 55

1] used AWP information of a competitor's product in your
(2) business?
3] A: Not to my knowledge, that I can remember.
4] @: You don’t have a specific memory of doing —
§) of using a — competitor AWP information in your

(e) business?

m A: We look at it, but, you know — you're talking

js] about brand?

7  Q: For brands, yes.
no)6=—s A: No. :
17 © Q: In selling generic products, in your 20 plus
[tq] years of experience, have you ever utilized the AWP
19] information of a competitor?
ti4) A: Yes.

=

tts} Q: For what purpose?
tte) =A: To set Roxane AWP.
117) Q: In looking at a competitor's AWP on a generic

{18} product, how does Roxane set its AWP on its generic
(19) products?

(29) A: Close to the competitor,

(21) Q: Above or below?

(22) A: At.

23] | Q: Exactly? The same as a competitor's AWP?

(24) A: Close.

251 Q: Okay. Well, in your experience, your specific’

Page 56
1] experience at Roxane, did you assist in setting the
2] AWPs on generic products?
@ A: No.
4)  Q: Are you aware of Roxane setting AWPs while you
3) were employed at Roxane?
ts) ~=—A::'‘Yess.
Q: And who set those AWPs?
A: Marketing.
Q: Who specifically in marketing?
(10) A: Judy Waterer.
iq] = Q: Did Judy Waterer, to your knowledge, set all
112] AWPs on generic products at Roxane while you were
[13] employed by Roxane?
(147 A: To my knowledge, yes.
11] Q: To your knowledge, does Judy Waterer continue
[16] to set the AWPs on genetic products for Roxane?

19]

17 A: To my knowledge, yes. But that's a qualified
[1a] yes.
tt] Q: Roxane has gone through some significant

(2) reorganization. That's true, Right?

21) A: Yes.

22} Q: And is that why you’re somewhat unclear as to

(23) whether Judy Waterer continues to perform the duties of
24] setting the AWPs on generic products?

(25) A: Yes.

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() Q: Okay. How would Roxane be benefited by.
4] setting an AWP above a competitor's AWP? _
3] A: They wouldn't be, to my knowledge.
4 Q: How would they be benefited by setting an AWP
(3) below a competitor's AWP?
=A: They wouldn't be as — to my knowledge.
™ Q: So why is it that it’s important to set your
1] AWP close to a competitor's AWP?
] A: Because that was market practice in the
[10] commodity marketplace.
1} Q: And when you say commodity marketplace, you
(12] Mean generic products?
(i3} A: Yes.
147 Q: Are brand products considered commodities?
(1) A: We would hope not. ,
tte) Q: And that’s because they have patent
[17] protection?
tig) A: Correct.
ue «6 QQ: And they treat — theoretically one brand
[20] treats one specific disease or set of symptoms?

2) A: Pretty general...
22] Q: Generally, yes?
23} +A: Yes.
247 Q: Okay.
25} As It's —
Page 58

i ©: Well, when you say —

A: — kind of shaky ground there.

i} «©. Q: Tunderstand. When — when you say we hope

4] not, that implies that there are situations where

i] brands can be treated as commodities?

No.

: Okay.

: You're — you're really —

: Reading too much into that?

: Restate the question.

: You said — you said —

: He wants you to stop.

: Okay. Let's take a break and change tapes.
VIDEOGRAPHER: We're off the record at

9:49 a.m.This concludes tape No. 1.
VIDEOGRAPHER: We're back on the record

19}
{10
t4]

[12]
[13]
14)
[35]
[16]

OPOrPOrO>

Page 59
(1] used as the reference for reimbursement at pharmacies.
ta Q: And how — for — how long have you had that
3] understanding?
41 A: Long time.
i] Q: You've been involved in the industry 20 years.
6] Have you always understood that AWP was the reference
1 for reimbursement?
t) A: More or less.
] Q: Did you find at Roxane that Roxane’s AWPs
(10] would be above or below its competitors in generic
(11) products?
1247 A: General question. Which products?
133 Q: Generic products. Generally, were the AWPs
4] higher or lower than competitor AWPs?
115} A: Don’t know.I mean, I — I really don’t.
tt) ~=Q: Do you have any specific memory of how the AWP
{i7] for Ipratropium Bromide was set?
tt} A: Product was set prior to me going to work for
19] Roxane Laboratories.
oq) Q: While you worked at Roxane, did you ever have
1} occasion to check the AWP on the Ipratropium Bromide
(24) products as compared to its competitors’ AWPs?
3} A: I probably did, but don’t have a specific
(24) timeframe to tell you that this is when I looked. I
[25] Mean, you know. ~

2 fs

Page 60°.

i]  Q: But that would have been something that you
2 would have done in the ordinary course of your
is] business?
4 © A: Yes.
3) Q@: And why would it be important for you to do
ie] that?
7 A: To ensure that I stay close to whatever the
(] Competitive products were on the marketplace for
3] Ipratropium Bromide.

Q: And when you say close to, do you mean above
or below the AWP of your competitors?

A: Close to.

Q: It just — so long as you get within a few
cents of your competitor, you're all right?

A: In general.

tig) =Q: What if, on Ipratropium Bromide, for instance,
(17) at 9:51 a.m. This is the beginning of tape 2. ti7] you set your AWP $10,00 less than its competitors, how
(3) Q: Gy Mr.Anderson) Mr. Feldman, what is your tig] would that impact Roxane's sales?
[19] understanding of the use of AWP in the pharmaceutical ig} =A: We never did that, so I couldn’t tell you.
(20) industry? , 2)  Q: Do you have any understanding of why you never
1 A: It’s a reference price used by the wholesaler fer) did that?
22] to sell product to the pharmacy. 2) A: No.
2] Q: Does it have any impact in the reimbursement 3) Q: In 20 years you've never had an understanding
24) of pharmaceuticals, to your knowledge? 24) of why AWPs are set at competitive levels?
25) A: It’s my understanding that at times AWP is 25) A: Because it’s a commodity marketplace and you
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(1)
[2}

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A: Criminal.

Q: And did you testify on behalf of the '
defendants?

A: No.

Q: Did you testify on behalf of the government?

A: Yes.

Q: And where did you give your deposition?

A: It was — I'm trying to remember where I did
it. It was someplace.

Q: Was it here? Here or at headquarters?

A: I don’t remember where we did it.I — I —
we did it, but I just don’t remember where.

Q: Did you recall testifying in open court?

A: Yes.

Q: Did you give a deposition and testify in
trial?

A: Yes,

Q: Was there a jury present when you testified in
trial?

A: Yes.

Q: And what was the subject matter that you
testified about in the case that you're referring to
now?

A: The — it had to do with the contract and
buying of pharmaceuticals,

Page 78

Q: What kind of pharmaceuticals?

A: The product was Ipratropium Bromide.

Q: That was Roxane’s generic version of
Ipratropium Bromide?

A: It was — yeah, it was Ipratropium Bromide
manufactured by Roxane, yes.

Q: Okay.And what was the substance of your —
of your testimony?

A: That they illegally bought the product and
distributed the product by buying it into their
pharmacy and then selling it to other customers.

Q: To other customers that were — in other
words, they were acting as a distributor themselves, or
as a wholesaler?

A: Yes."

Q: And why was that improper from the perspective
of your testimony?

A: Because we sold it to Respiratory Druggists,

Inc. — which is confusing because it’s — they're both
RDI, and it was for own use for dispensing, and instead

Page 79

ty <A: Yes.

4 Q: And was RDI, Respiratory Distributors, Inc.,

3] What was their business, to your knowledge?

#1 A: Distributor.

§)  Q: Distributing to what kind of entities?

) A: For the most part I believe their business was

m7 focused on respiratory pharmacies.

i]  Q: Did Respiratory Druggists, Inc. get a better

i] price in negotiating with Roxane than they would have
{iq} gotten had they revealed that they were going to
1] distribute the drug?
tq] A: Yes.
(133 Q: Did they get a better AWP than they would have
114] otherwise gotten?
is) A: There is only one AWP.
(16 Q: Did they get a better WAC than they would have
177 otherwise gotten?
tq] A: There is only one WAC.
(193 @: Who sets Roxane’s WAC for ipratropium Bromide?
20) +A: Marketing.
21) Q: Roxane’s marketing department. Correct?
21 =o: Yes.
31 Q: And if Roxane's marketing department chooses
24] to report a lower WAC, they have got power — the power
(25) to do that. Is that correct?

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A: I just ask you to rephrase the question.

Q: If Roxane’s marketing department made a
decision to report a lower WAC, would they have the
authority to do that?

A: The question is not — question — you're
going to have to restate it because the word report is
not a good word to use in that question.

Q: It’s not a good word? Okay. If Roxane’s
marketing department chose to set a lower WAC, would
they have the authority to do that for Ipratropium
Bromide?

A: Roxane — marketing department had the
responsibility if they so decided to change the WAC
price. .

Q: They could change it up or they could change
it down. Correct?

A: Yes.

Q: If Roxane's marketing department were to lower
the WAC of Ipratropium Bromide, would it be Roxane’s
marketing department’s responsibility to make sure that

[19]
tit]
(12]
[13]
(14)
[15]
[16]
(17]
[18]
{19}
(20)

2) they were buying the product and then selling it 21] their lower WACs were reported to First Data Bank?

zz] through Respiratory Distributors, Inc., and that was p21 A: No.

(3) not what they should be doing. 233 Q@: Whose responsibility, if any, would that be?

124)  Q: Was Respiratory Druggists, Inc.a home care 24) At We didn’t report WAC to First Data Bank.

j25) type provider, to your knowledge? 5) Q: Why not?

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Page 81
1) A: Because in general, generic companies did not
2] feport WAC prices, only AWPs to First Data Bank.
8] Q: Why?
41 A: Just practice. .
3} Q: Did Roxane’s marketing department have the
(@ authority to report Roxane’s WAC for Ipratropium
™ Bromide to First Data Bank if the marketing department
(a) SO chose?
#] A: That would probably be discussed.

Q: Among who?

A: They would probably — and you know, it’s
hypothetical, they would probably go to whoever they
report to at the time and discuss why they would want
to do something.

Q: Well, you testified in response to
Mr. Anderson’s questions, I believe — at least I got
the impression that you've actually been present on one
or more occasions during discussions that resulted in
Roxane setting an AWP for one or more drugs. Is that
correct?

A: Yes.

Q: Okay. Sitting here today, what drugs do you
recall being present during discussions, the result of
which Roxane set an AWP for one or more drugs?

A: Whew! There was so many products, I — I

Page 82
(1] couldn’t narrow in on a given product for you.
 «©6 Q@: Can’t think of one?
A: No, not a hundred percent absolute. I — I
just can’t think of one.

8} Q: So there were so many you can’t think of the
list of all the ones you participated in discussions

™ about AWP about, and there were so many you can’t even

ig] think of one that you participated in AWP discussions

i) about?
19) ~—- A: In various meetings, talking about various
(11) products, and pricing was talked about, and possibly
112] AWP was talked about. And I was present, but I just
(13] can’t focus on exactly what product —
14) Q: Okay.
15} A: — and the detail of that.
i «6 Q:: All right. Those meetings, what kind of
(17) meetings were they?
its] A: Marketing meetings.
19] Q: And you are part of the marketing department.
a) Correct? Or you were part of Roxane’s marketing
(21) department. Correct?
2} A: I was really part of the sales department, but

(23) the umbrella probably would cover the marketing piece
(24) as well.

1  Q: So over a time span of how long did you

&

s

Page 83
i] participate in meetings at Roxane during which pricing
4] would have been discussed in any context?

(3) A: Pretty much from the time I started.
43 Q: So for about 20 years?

i} =A: No.

i) Q: I’m sorry. About nine years?

m <A: No.

3] @: How long?

(] A: I started at Roxane in 12 96. Yeah, five
(10) years,

111] Q: Five years, I’m sorry. So tell the jury to

(1q] the best of your recollection every time you

{ta} participated in a discussion at Roxane during which

(14) anybody raised the issue of Roxane taking steps to make
118] Sure that its AWP reflected the average price the drug
[ig] Was being sold by the wholesaler.

17) A: Restate the question.

(18) Q@: Would you read the question back, please?
[19) (Requested portion was read)

20) MR. McCONNICO: Objection; form.

2) MR. BREEN: What is the basis, Steve?

2] MR. McCONNICO: The basis is it’s so

(23) general, there’s no way that he can specifically give
i24] any answer to it. You don’t talk to any one point,
[25] place, time, person. It’s not specific enough and it

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(1) calls for something that’s so global that I don’t think
fj there’s any way that he can give any type of meaningful
(3] answer to the question.
4) MR. BREEN: Okay. Well,'‘let’s see if he
i] can. Give it a whirl.
] THE WITNESS: Really — I really can’t,
™ I mean, the — no.
13) Q: @y Mr, Breen) Okay, Let me ask it this way,
then: Sitting here today, do you have a recollection
liq of ever participating in a discussion at Roxane during
(11) which anybody raised the issue of making sure that
(12) Roxane’s AWPs reflected the price at which Roxane’s
[13] drugs were being sold by the wholesalers?
(14) A: No.
tis) Q: Did you ever participate in a discussion at
18} Roxane during which anybody raised the issue as to
(7), whether or not Roxane’s AWPs may in any instance be

(141 misleading?
13) A: No.
(2)  Q: That subject never came up the entire tenure

(21) that you were at Roxane?

24 «6A: No.

233 Q: How about while you were at Schein? Did the
24) Question ever come up as to whether or not Schein’s
2s) AWPs might be misleading with respect to any drug?

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THE STATE OF TEXAS ex rel. v.
DEY, INC., ET AL.

RICHARD A. FELDMAN
June 25, 2002

. Page 173
i} Q: And you currently sell Boehringer Ingelheim
1] drugs as well as what other drugs?
~) «©. A: Current?
4  Q: Currently.
t) A: Currently I sell brand pharmaceuticals for
ts) Boehringer Ingelheim Pharmaceuticals, Inc. And there’s
7 still one brand product that has a Roxane label that
is] I’m responsible for.
i] Q: What product is that?
(i) )}63=—s A: Totecan.
tit] Q: Do you have responsibility for selling a drug
(12) known as Viramune?
13} As Yes.
14) Q: Is that sold under the Roxane label or the
(is] Boehringer Ingelheim label?
tig) A: The Boehringer Ingelheim Pharmaceuticals, Inc.
17) label.
(ta) Q: Has Viramune ever been sold under the Roxane
(19) label?
(2) «Ss: Yes.
21) Q: Do you know why it was that that was — that
22] product was switched to the Boehringer Ingelheim label?
A: Yes.
Q: Why was that?
A: It’s a brand product.

(23)
[24]
(25)

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i] Q: And Roxane sold brand products. Right?
2] A: Used to.
3]  Q: Was there a decision made that Roxane would no
(4) longer sell brand products?
5) A: Yes.
9 Q: Do you know what position Mark Pope has ever
| held with Roxane or Boehringer Ingelheim?

13) A: Yes.
1  Q: And in what capacity did he work with Roxane
{io} or Boehringer?

[14]
{12}

A: I believe he was a consultant to Roxane.
" Q: Was he hited as an independent contractor, to
your knowledge? — .
A: Don’t — that I’m not sure. I mean,
independent contractor versus consultant — he was not

[13]
(14]

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(1) pharmaceutical manufacturers?
2) A: Yes.
3] Q: What pharmaceutical manufacturers do you know
4) Mark Pope used to work for?
(5) : Schein Pharmaceutical.
: Did you work with Mark at Schein?
Yes.
: Do you keep up with Mark?
No.
: Do you know where Mark lives now?
: Not a hundred percent sure, but —
: Where do you think he lives?
: Napa Valley.
: Do you understand that Mark Pope also worked
for Dey Pharmaceuticals?

A: Yes.

Q: Did Mark Pope leave Schein to go to work for
Dey, to your knowledge?

A: No.

[10]
111]
112]
113]
114)
115)
116]
117)
118)
119]

DPOPOrPoOroprp

0) Q: Where did Mark Pope wotk after he left Schein?
2) A: He started his own business.

va «= Q:: As. a consultant? A pharmaceutical consultant?
3} A: I don’t believe so, but don’t know.

4) Q: Do you know at what point in his career Mark

25} Pope worked for Dey? Was it before or after Schein?

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ti) A: It was before Schein.
«©: Do you know roughly what years that would have »
(3] been?
4] A: It had to be — well, I started with Schein
i] in — my resume will tell you that — ’82.And I left
is) Schein in — what, ’88, '89, something like that.
™ Q: That sounds right.
ta) A: Yeah, close enough. So...
 Q: So you've, to your knowledge — you were with
tq] Schein apparently from °92 to ‘96, according to your
[11] resume.
v2) A: Kind of. :
iq «=Q: You were with a subsidiary of Schein from ’88
(14) to 92 named Danbury Pharmacal. Is that right?

(15) 15) A: Yes.

[16] an employee. tig] Q: Is that a company that used to be located in

7 =©Q: You're — you're certain he wasn’t an 17) Danbury, Connecticut?

118} employee? tis) A: No.

ti A: I'm pretty sure he was not an employee of i937 Q: Where was it located?

20] Roxane Laboratories. 0) A: Carmel, New York.

2} Q@: Do — do you know Mark Pope’s prior 2) Q: Okay. And from let’s say '88 to '96, in your

22] experiences, know of his prior experiences in the 2) involvement with Schein companies, is that when you
(23) pharmaceutical industry? (23) worked with Mark Pope?

(24) A: Some of them, yes. 24 A: Yes. a

28) Q: Do you know if he ever worked for any other 2)  Q: So to your knowledge, Mark Pope was at Dey
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